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VAN−006 Order Appointing Interim Trustee and Approving Standing Bond − Rev. 10/01/2013

                             UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
                                                           Raleigh Division

IN RE:
Robert Fields                                                          CASE NO.: 19−05345−5−SWH
255 Basket Oak Dr
Bunnlevel, NC 28323                                                    DATE FILED: November 18, 2019

                                                                       CHAPTER: 7




                ORDER APPOINTING INTERIM TRUSTEE AND APPROVING STANDING BOND

IT IS ORDERED AND NOTICE IS HEREBY GIVEN THAT:

The following interim trustee is hereby appointed, and the trustee's standing bond is fixed under the
blanket bond heretofore approved.

Holmes P Harden
Williams Mullen
A Professional Corporation
P. O. Drawer 1000
Raleigh, NC 27602

DATED: November 19, 2019

                                                                            Stephani W. Humrickhouse
                                                                            United States Bankruptcy Judge
